
TYSON, Judge, dissenting.
The majority's opinion erroneously affirms the trial court's order, which adjudicates respondent's minor children to be neglected and holds she failed to establish the trial court's excessive delay in reducing to writing and entering its order prejudiced her. I respectfully dissent.
I. Late Entry of Order
N.C. Gen.Stat. § 7B-905(a) (2005) mandates, "The dispositional order shall be in writing, signed, and entered no later than 30 days from the completion of the hearing, and shall contain appropriate findings of fact and conclusions of law." (Emphasis supplied).
Although we stated, "[a] trial court's violation of statutory time limits in a juvenile case is not reversible error per se ... [T]he complaining party [who] appropriately articulate[s] the prejudice arising from the delay... [does] justify reversal." In re S.N. H., ___ N.C.App. ___, ___, 627 S.E.2d 510, 513 (2006). While "[t]he passage of time alone is not enough to show prejudice, ... [we] recently [held] the `longer the delay in entry of the order beyond the thirty-day deadline, the more likely prejudice will be readily apparent.'" Id. at ___, 627 S.E.2d at 513-14 (quoting In re C.J.B., 171 N.C.App. 132, 135, 614 S.E.2d 368, 370 (2005)).
This Court has repeatedly reversed orders terminating the respondent's parental rights due to prejudice to the respondent, the children, and the parties resulting from the trial court's late entry of its order. In re D.S., ___ N.C.App. ___, ___, 628 S.E.2d 31, 33 (2006). This Court stated in In re D.S.:
Respondent argues the delay prejudiced all members of the family involved, as well as the foster and adoptive parents. By failing to reduce its order to writing within the statutorily prescribed [30 day] time period, the parent and child have lost time together, the foster parents are in a state of flux, and the adoptive parents are not able to complete their family plan. The delay of over six months to enter the adjudication and disposition order terminating respondent-mother's parental rights prejudiced all parties, not just respondent-mother.
___ N.C.App. at ___, 628 S.E.2d at 33 (internal quotations and citations omitted).
This Court held a delay in the entry of an order of six months was "[highly] prejudicial to respondent-mother, the minors, and the foster parent." In re L.E.B., K.T.B., 169 N.C.App. 375, 380, 610 S.E.2d 424, 427, disc. rev. denied, 359 N.C. 632, 616 S.E.2d 538 (2005). Prejudice to the respondent, her children, and all parties involved is clear when:
Respondent-mother, the minors, and the foster parent did not receive an immediate, final decision in a life altering situation for all parties. Respondent-mother could not appeal until entry of the order. If adoption becomes the ordered permanent plan for the minors, the foster parent must wait even longer to commence the adoption proceedings. The minors are prevented from settling into a permanent family environment until the order is entered and the time for any appeals has expired.
Id. at 379, 610 S.E.2d at 426-27 (internal quotations and citation omitted).
The majority's opinion quotes In re E.N.S., 164 N.C.App. 146, 153, 595 S.E.2d 167, 172, disc. rev. denied, 359 N.C. 189, 606 S.E.2d 903 (2004), which was decided prior to In re L.E.B. and its progeny and states, "holding that the adjudication and disposition orders should be reversed simply because they were untimely filed would only aid in further delaying a determination regarding [the children's] custody." This Court more recently stated, "prejudice, if clearly shown by a party" is not "something to ignore solely because the remedy of reversal further exacerbates the delay." In re As.L.G., ___ N.C.App. ___, ___, 619 S.E.2d 561, 564 (2005), aff'd, 360 N.C. 476, 628 S.E.2d 760 (2006).
Here, after remand from the first appeal on 10 May 2004, the trial court held an informational hearing on 13 May 2004 and ordered its order be entered on 14 June *262004. The court failed to reduce to writing and enter its order until over five months later on 15 October 2004. Respondent specifically argues the prejudice that resulted from the incessant delays and late entry of the order:
Between May and October 2004, [respondent] spent yet [an] additional [five] months without contact with her children... [respondent] has been severely prejudiced by this delay. The entire case history, and DSS's completely incompetent response to a person with oppositional defiant disorder has created a situation in which a mother who never harmed her children, nor allowed anyone to harm her children, has been kept away from them without just cause ... The mother has been cut off from her children ... and the Court's delay was very hard for [respondent].
The majority's opinion concludes, "these assertions, without more, do not establish that the delay prejudiced respondent." Upon similar allegations, this Court has repeatedly found prejudice to exist in many cases, with facts analogous to those here. See In re D.S., ___ N.C.App. at ___, 628 S.E.2d at 33 (The trial court's entry seven months after the termination was a clear and egregious violation of N.C. Gen.Stat. §§ 7B-1109(e) and 1110(a), and the delay prejudiced all parties.); see also In re A.N.J., ___ N.C.App. ___, 625 S.E.2d 203 (2006) (The trial court's judgment was reversed when the respondent was prevented from filing an appeal for over seven months because the trial court failed to enter its order within the statutorily prescribed time limit.); In re O.S.W., ___ N.C.App. ___, 623 S.E.2d 349 (2006) (The trial court's order was vacated because the court failed to enter its order for six months, and the father was prejudiced because he was unable to file an appeal.); In re T.W., ___ N.C.App. ___, 617 S.E.2d 702 (2005) (The trial court entered its order just short of one year from the date of the hearing. The Court of Appeals reversed the trial court's order.); In re L.L., ___ N.C.App. ___, 616 S.E.2d 392 (2005) (The Court of Appeals held the eight month delay prejudiced the parents.); In re C.J.B., 171 N.C.App. 132, 614 S.E.2d 368 (2005) (The Court of Appeals reversed the trial court's order because the trial court failed to enter its order until five months after the hearing.); In re T.L.T., 170 N.C.App. 430, 612 S.E.2d 436 (2005) (The Court of Appeals reversed the trial court's judgment because the trial court failed to enter its order until seven months after the hearing.).
In distinguishing earlier precedents upon which the majority's opinion relies, this Court stated in In re L.E.B.:
Although respondent-mother acknowledges the precedents on timeliness, she argues that more than six months is an excessive delay to enter the order and prejudiced her by adversely affecting: (1) both the family relationship between herself and the minors and the foster parent and the minors; (2) delaying subsequent procedural requirements; and (3) the finality of the matter.
169 N.C.App. at 379, 610 S.E.2d at 426.
In In re As.L.G., this Court stated:
As in In re B.M., the respondent in In re C.L.C. fell short of meeting her burden of showing prejudice. "The only prejudice that the mother identifies is that `DSS ceased reunification but waited many months to initiate termination proceedings.' She does not explain in what manner the delay prejudiced her...." 171 N.C.App. 438, 445, 615 S.E.2d 704, 708 (2005). These cases highlight the need to argue prejudice. Both interpret delays by DSS associated with filing a petition for termination, an eleven-month delay and a three-month delay respectively, but since prejudice was not articulated by any party it could not serve as a basis for reversal.
___ N.C.App. at ___, 619 S.E.2d at 565 (emphasis supplied).
Here, respondent specifically "articulated" the "prejudice" she, her children, and all parties suffered. Id. A five month further delay here is particularly egregious and prejudicial due to the prior appeal and decision by this Court in respondent's favor. See In re T.S., 163 N.C.App. 783, 595 S.E.2d 239 (2004) (Unpublished) ("After determining what appears to be the trial court's conclusions *27of law, we find that the trial court summarily declared the children to be neglected, but made no reference to the statutory basis for its conclusion, nor did it cite any one incident or a series of incidents as a basis for its determination of neglect. N.C. Gen.Stat. § 7B-101(15) provides several grounds for determining neglect; however, the trial court made no reference to the statutory grounds. Therefore, this Court remands the case to the trial court with instructions to make ultimate findings of fact based on the evidence and to enter clear and specific conclusions of law based on the findings of fact." (internal quotations and citation omitted)). Upon remand, no new evidence was taken or allowed, and the trial court scheduled proposed revised drafts of orders to be submitted no later than 14 June 2004.
II. Conclusion
For a parent, everyday a young child is absent seems like a week, a week's absence seems like a month, a month passes as slowly as a year. Over five months to a parent without his or her young child is an eternity. The prejudicial delays, as argued by respondent mother is exacerbated by the patent disregard of this Court's mandate and the trial court's own schedule for the parties to present proposed revised orders by 14 June 2004. Now, more than five months later, no new evidence was allowed or taken by the trial court. It is inexcusable, and no excuse is offered in the trial court's order or by petitioner DSS to explain why the required submission date of 14 June 2004 languished and was not accomplished until 15 October 2004.
The People of North Carolina, through their elected representatives in the General Assembly, mandated specific deadlines for DSS to act when children are removed from their parents' custody. Compliance with these statutory mandates is necessary to enforce the overall objectives of the Juvenile Code, "[t]o provide standards for the removal, when necessary, of juveniles from their homes and for the return of juveniles to their homes consistent with preventing the unnecessary or inappropriate separation of juveniles from their parents." N.C. Gen.Stat. § 7B-100(4) (2005) (emphasis supplied). These statutory mandates are not suggestions. The recent amendments shortening the required response times were specifically enacted to preserve Federal funding for those important programs. Noncompliance with the deadlines can jeopardize that funding in the future.
Prejudice to respondent mother and her young children is argued, and prejudice is shown. In re As.L.G., ___ N.C.App. at ___, 619 S.E.2d at 565. Procrastination to reunite and to resolve the issues that led to the removal of the children from their mother, prevented respondent mother from entering her notice of appeal until the judgment was entered. This delay is highly prejudicial, and it bears consequences to the responsible party.
It is also appropriate to note that Canon 3 of the North Carolina Judicial Conduct mandates, "A judge should perform the duties of the judge's office impartially and diligently... A(5) A judge should dispose promptly of the business of the Court." North Carolina Code of Judicial Conduct, Canon 3A(5) (2006) (emphasis supplied). This long-term delay was neither prompt nor diligent.
The trial court erred when it failed to reduce its order to writing adjudicating the minor children neglected and entering the order within the statutorily mandated time period. "This late entry is a clear and egregious violation of both N.C. Gen.Stat. § 7B-1109(e), N.C. Gen.Stat. § 1110(a), and this Court's well-established interpretation of the General Assembly's use of the word `shall.'" In re L.E.B., K.T.B., 169 N.C.App. at 378, 610 S.E.2d at 426.
Respondent specifically argued and articulated the prejudice she and her children suffered as a result of the egregious late entry of the court's order. In re As.L.G., ___ N.C.App. at ___, 619 S.E.2d at 565. It is incredulous and inexcusable for six more months to elapse after this Court's opinion in the earlier appeal, to simply revise and enter an order, where no additional evidence was allowed or taken. I vote to reverse the trial court's order and respectfully dissent.
